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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                      CRIMINAL MINUTES - SENTENCING AND JUDGMENT

                                          (    Amended                                                )
 Case No.          CR 20-00322-ODW                                                                   Date        November 7, 2022

 Present: The Honorable     OTIS D. WRIGHT, II
             Sheila English                                   Court Smart                                    Khaldoun Shobaki
              Deputy Clerk                              Court Reporter/Recorder                             Assistant U.S. Attorney

                Defendant          Custody Bond         Counsel for Defendant        Retd. DFPD Panel                    Interpreter
                                                       Louis J Shapiro / John O.
     Ramon Olorunwa Abbas             X        G            Iweanoge , II              X      G       G

 PROCEEDINGS:               SENTENCING AND JUDGMENT HEARING                             G Contested          G      Non-Evidentiary
                            Day       (if continued from a prior hearing date)
    Refer to Judgment and Probation/Commitment Order; signed copy attached hereto.                      X Refer to separate Judgment Order.
    Imprisonment for Years/months            on each of counts
    Count(s)                                 concurrent/consecutive to count(s)
    Fine of $                                is imposed on each of count(s) concurrent/consecutive.
         Execution/Imposition of sentence as to imprisonment only suspended on count(s)
    Confined in jail-type institution for                                              to be served on consecutive days/weekends
         commencing
    years/months Supervised Release/Probation imposed on count(s)
    consecutive/concurrent to count(s)
    under the usual terms & conditions (see back of Judgment/Commitment Order) and the following additional terms and conditions, under
    the direction of the Probation Office:
         Perform                                           hours of community service.
         Serve                                             in a CCC/CTC.
         Pay             $                                 fine amounts & times determined by P/O.
         Make            $                                 restitution in amounts & times determined by P/O.
         Participate in a program for treatment of narcotic/alcohol addiction.
         Pay any fine imposed by this sentence & that remains unpaid at commencement of community supervision. Comply with
         rules/regulations of ICE, if deported not return to U.S.A. illegally and upon any reentry during period of supervision report to the
         nearest P/O within 72 hours.
         Other conditions:
    Pursuant to Section 5E1.2(e), all fines are waived, including costs of imprisonment & supervision. The Court finds the defendant
    does not have the ability to pay.
                                             per count, special assessment to the United States for a
    Pay       $                              total of                                                       $
    Imprisonment for months/years            and for a study pursuant to 18 USC
    with results to be furnished to the Court within       days/months                 whereupon the sentence shall be subject to
    modification. This matter is set for further hearing on
 X Government's motion, all remaining count(s)/underlying indictment/information, ordered dismissed.
 X Defendant informed of right to appeal.
    ORDER sentencing transcript for Sentencing Commission.                   Processed statement of reasons.
    Bond exonerated                       upon surrender                     upon service of
    Execution of sentence is stayed until 12 noon,
    at which time the defendant shall surrender to the designated facility of the Bureau of Prisons, or, if no designation made, to the
    U.S. Marshal.
    Defendant ordered remanded to/released from custody of U.S. Marshal forthwith.
    Issued Remand/Release           #
    Filed and distributed judgment. ENTERED.
    Other Counsel and the defendant addresses the Court. Government moves to dismiss case no: 21-mj-760.- Court grants.
                                                                                                              3         :      00
                                                                             Initials of Deputy Clerk
cc:


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